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                                      UNITED STATES DISTRICT COURT
                                       DISTRICT OF MASSACHUSETTS


     Connectu, Inc.

                         V.                                         Case No. 1:07-CV-10593-DPW

      Facebook, Inc.


                                                  ORDER

WOODLOCK                    D.J.


           Please take notice that the records of the Court contain material that was filed in the above case
pursuant to a protective, confidentiality or impoundment order.
           The material having been filed without a cut-off date or the cut-off date for maintaining the
records pursuant to Local Rule 7.2 having expired, it is hereby ORDERED that the documents will be
placed in the public file of this case or destroyed without further notice unless, within 10 days of the
date of this order, an appropriate notice regarding future custody of this material is filed.




                                                           By the Court,


                                                           /s/ Steve York
                                                           Deputy Clerk


Date:      03/15/2012




(Sealed Order Returned.wpd - 09/96)
